               Case 2:07-md-01873-KDE-MBN Document 7344 Filed 11/17/09 Page 1 of 2
o A0440CRey. 04108) Qvil Syrnrm;



                                        UNITED STATES DISTRICT COURT
                                                                for the
                                                    EASTERN DISTRICT OF LOUISIANA


        LAlLA BIENEMY O/B/O SREONE MAJOR, ET AL.                         )
                         Plaintiff                                       )
                                   v.                                    )
                                                                                       Civil Action No. 2:09-cv-5743
 PALM HARBOR MANUFACTURING, LP., ET AL. ~
----~-
               Defendant
                                                                         )
                                                                         )



                                                          Summons in a Civil Action

  To: (Defendant's name and address)
         Fluor Enterprises, Inc.
         Through its registered agent for service:
         Corporation Service Company
         320 Somerulos St.
         Baton Rouge, LA 70802-6129


  A lawsuit has been filed against you.

           Within 20 days after service of this summons on you (not counting the day you received it), you must serve on the
plaintiffan answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiffs attorney, whose name and address are:

         Lawrence J. Centola, Jr.
         600 Carondelet st. Stet 602
         New Orleans, LA 70130
If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also must
file your answer or motion with the court.                                                  ..'. .    ..




              Nov 102009

Date:




  (Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
  Rule 12(a)(3).)
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